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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                             )
                                                      )               8:11CR39
                       Plaintiff,                     )
                                                      )
       vs.                                            )                ORDER
                                                      )
CHRISTIAN FLORES,                                     )
                                                      )
                       Defendant.                     )


       This matter is before the court on the motion for an extension of time by defendant Christian
Flores (Flores) (Filing No. 23). Flores seeks an additional fourteen days in which to file pretrial
motions in accordance with the progression order. Flores's counsel represents that government's
counsel has no objection to the motion. Upon consideration, the motion will be granted


       IT IS ORDERED:

       Defendant Flores's motion for an extension of time (Filing No. 23) is granted. Flores is

given until on or before April 14, 2011, in which to file pretrial motions pursuant to the progression

order. The ends of justice have been served by granting such motion and outweigh the interests

of the public and the defendant in a speedy trial. The additional time arising as a result of the

granting of the motion, i.e., the time between March 30, 2011, and April 14, 2011, shall be

deemed excludable time in any computation of time under the requirement of the Speedy Trial Act

for the reason defendant's counsel requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 30th day of March, 2011.
                                                      BY THE COURT:

                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
